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United States District Court

SOUTHERN DISTRICT OF INDIANA

UNITED sTATEs oF AMERICA
CRIMINAL COMPLAINT

v.
CASE NUMBER: 1:17-mj -()0297

D.D.M., A JUVENILE MALE

 
   

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and belief.

Count One: At all times material to this Complaint, the CVS Pharmacy located at 6290 North College Avenue, in
lndianapolis, Marion County, lndiana, was engaged in the operation of a pharmacy open to the public in interstate commerce and in an
industry that affects interstate commerce.

On October 13, 2015, in the Southern District of lndiana, Indianapolis Division, D.D.M., the defendant herein, did unlawfully
obstruct, delay, and affect, and attempt to obstruct, delay, and affect commerce and the movement of articles and commodities in such
commerce by means of robbery, in that the defendant, D.D.M., did unlawfully take and obtain money and property from the person of,
or in the presence of, an employee of the CVS Pharmacy against his will by means of actual and threatened force, violence, and fear of
injury to her person, that is, by brandishing a firearm, and by taking controlled substances from the employees of CVS Pharmacy.

This act would have been a crime in violation of Title 18, United States Code, Section l951(a) and Section 2 if D.D.M. had
been an adult. All in violation of Title 18, United States Code, Section 5032.

Count Two: On or about October 13, 2015, in the Southern District of lndiana, Indianapolis Division, D.D.M., the defendant
herein, did knowingly carry, use, and brandish a firearm during and in relation to a crime of violence, to wit: the robbery of the CVS
Pharmacy located at 6290 North College Avenue, in Indianapolis, Marion County, Indiana in Indianapolis, Marion County, lndiana,
charged in Count One of the Complaint. This act would have been a crime in violation of Title 18, United States Code, Section
924(c)(l)(A)(ii) and Section 2 if D.D.M. had been an adult. All in violation of Title 18, United States Code, Section 5032.

Count Three: On or about October 13, 2015 within the Southern District of lndiana, Indianapolis Division, D.D.M. did
unlawfully obstruct, delay, and affect commerce and the movement of articles and commodities in such commerce, by extortion, in
that D.D.M. did unlawfully take or obtain personal property, that is, controlled substances that constituted the proceeds of a Hobbs Act
Robbery, from an individual, Malik Perry, without his consent, induced by wrongful use of actual and threatened force, violence or
fear. This act would have been a crime in violation of Title 18, United States Code, Section l95l(a) and Section 2 if D.D.M. had been

an adult. All in violation of Title 18, United States Code, Section 5032.

Count 4: On or about October l3, 2015, in the Southern District of lndiana, Indianapolis Division, D.D.M., the defendant
herein, did knowingly carry, use, and discharge a firearm during and in relation to a crime of violence, to wit: the robbery of Malik
Perry, in lndianapolis, Marion County, lndiana, charged in Count Three of the Complaint. lt is further alleged that the discharge of the
firearm caused the death of a person and constituted the crime of murder. This act would have been a crime in violation of Title 18,

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United States Code, Section 924(j)(l) and Section 2 if D.D.M. had been an adult. All in violation of Title 18, United States Code,
Section 5032.

I further state that I am a Special Agent, and that this complaint is based on the following facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof.

   

fmc

Spec al Agent Ste Aen Sec'or,'FB'l'

Sworn to before me, and subscribed in my presence

April 21, 2017 at Indianapolis, Indiana

 

Date

Mark J. Dinsmore, U.S. Magistrate Judge

 

 

Name and Title of Judicial Ofi'icer Signatu70'f.lurfic' ff“icer w '

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AFFIDAVlT
l, STEVEN T. SECOR [“AFFIANT”], being duly sworn according to law, depose and state as
follows:

l. l am and have been employed as a Special Agent with the Federal Bureau of
lnvestigation [“FBI”] since September of 2003. Prior to that time, I spent 17 weeks training to be
a Special Agent at the FBI Academy in Quantico, Virginia beginning on June l, 2003. Through
the FBI, l have received extensive training related to the investigation of federal crime to include
violations of the Hobbs Act, violent crime, and firearms offenses. I am currently assigned to the
FBI Violent Crime Task Force [“VCTF”] in the Indianapolis Field Off`ice of the FBI. ln this
assignment, l investigate all manner of violent crime, including armed robberies which violate the
Hobbs Act, and firearms offenses

2. l am an “investigative or law enforcement officer” within the meaning of Section
2510(7), Title 18, United States Code, that is, an officer of the United States who is empowered
by law to conduct investigations of, and to make arrests for, offenses enumerated in Section 2516
of Title 18, United States Code,

3. This affidavit is submitted in support of an application for an arrest warrant for
D.D.M., black male, date of birth XX/XX/l998, whose true name and additional identifiers are
known to me. D.D.M. is currently an adult, having reached the age of eighteen (18). However,
the crimes alleged to have been committed by D.D.M. as outlined below occurred prior to D.D.M.
reaching the age of eighteen (18).

4. Based on my training and experience, and based on the facts below, probable cause
exists to believe D.D.M. violated Title 18, United States Code, Section 5032 of the Juvenile Justice

and Delinquency Prevention Act (18 U.S.C. § 5031-42). D.D.M. committed an armed, takeover-

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style robbery of the CVS Pharmacy located at 6290 North College Avenue, Indianapolis, Indiana
46220, which would have been a violation of Title 18, United States Code, Section 195 l, if D.D.M.
was an adult at the time of the robbery. l further allege that D.D.M. possessed a firearm during
this robbery, Which would have been a violation of Title 18, United States Code, Section 924
(c)(l)(A)(ii), if D.D.M. was an adult at the time of the robbery. Following the armed robbery, I
allege that D.D.M. committed another violation of Title 18, United States Code, Section 5032 of
the Juvenile Justice and Delinquency Prevention Act (18 U.S.C. § 5031-42). This occurred when
D.D.M. robbed a co-conspirator in the robbery, MALIK PERRY [“PERRY”], of the narcotics
taken during the CVS robbery. This robbery would have been a violation of Title 18, United States
Code, Section l95l, if D.D.M. was an adult at the time of the robbery. Finally, I allege that
D.D.M. shot and killed the co-conspirator from whom he took the narcotics taken in the CVS
robbery, which would have been a violation of Title 18 USC, Section 924(j)(l) if D.D.M. were an
adult at the time of the robbery.

5. The statements contained in this affidavit are based in part on information provided
by, and conversations held with, Special Agents of the FBI; Task Force Off`icers [“TFOs”]
assigned to the Indianapolis VCTF; detectives and patrol officers of the Indianapolis Metropolitan
Police Department [“IMPD”]; witnesses; and my experience and background as a Special Agent
of the FBI.

6. l have not included each and every fact that has been revealed through the course
of this investigation but set forth only the facts that are believed to be necessary to establish the

required foundation for this issuance of the requested Warrant for Arrest.

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BACKGROUND OF THE INVESTIGATION

7. On October l3, 2015, at approximately 4:55 p.m., uniformed IMPD patrol officers
were dispatched to the apartment complex at 3707 North Meridian Street, Indianapolis, Indiana on
a report of several males loitering in the secured parking lot of the complex. The dispatched IMPD
officers made contact with six (6) black males Who appeared to the responding officers to be
loitering together. Responding officers confirmed none of the group lived at the apartment
complex and began to further investigate their presence inside a secured area meant for the
residents of the complex.

8. During the investigation, one member of the group was seen to discard a small
baggie containing ten (l()) pills that were later confirmed to be 2mg Alprazolam, which is a
Scheduled 4 controlled substance in the State of Indiana. The individual who discarded the baggie
was positively identified as JUSTIN RUDOLPH [“RUDOLPH”]. RUDOLPH was placed under
arrest by the responding officers for possession and dealing in a controlled substance. The
investigation was closed at 6:22 p.m., and the remaining members of the group, to include D.D.M.
and PERRY, were released at the scene. l know the true names and identifiers of the remaining
members of the group who were released at the scene.

9. On October 13, 2015, at approximately 7:55 p.m., an armed takeover robbery of
the CVS Pharmacy at 6290 North College Avenue, Indianapolis, Indiana was committed by five
(5) armed individuals Although the armed robbers wore clothing which concealed the majority
of their facial features, victims of the robbery described all five robbers as young black males. The
five robbers [“Rl, RZ, R3, R4, and RS”], all armed with handguns, entered through the front door
of the pharmacy and went to the pharmacy counter, which was positioned just inside the front

entrance. The pharmacy employees and customers were held at gunpoint while the robbers

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attempted to gain access to the safe containing the narcotics One of the robbers became angry
when he was told by a pharmacy employee that he did not know the combination to the safe.
Another pharmacy employee informed the robbers he could open the safe, but it was on a time
lock. This further angered several of the robbers

10. Several customers were approached by the robbers and ordered to the floor at
gunpoint. Several of the customers had their personal belongings including cell phones, taken
from them by the robbers One customer described one of the robbers as being approximately 5’2”
tall and approximately 135 pounds

11. The robbers were able to get some narcotics which were not stored iri the safe,
including multiple bottles of promethazine cough syrup. At approximately 7:55 p.m. all of the
robbers fled the store, heading in an unknown direction. The robbers left the store before the time-
locked safe opened.

12. On October 13, 2015, at approximately 8:09 p.m., 911 received a phone call in
regards to shots fired in the area of 41“Street and Byram Avenue in Indianapolis, Indiana. At
approximately 8:35 p.m., IMPD officers were dispatched to a report of a deceased person in the
alley west and behind 4130 Byram Avenue, Indianapolis, Indiana.

13. IMPD officers responded to the report of the deceased person and located the body
of PERRY, date of birth 02/17/1996. PERRY was deceased and appeared to have been shot
multiple times, including a bullet entry wound to the back of the head. In the IMPD report of the
incident, PERRY was described as being 5’2” tall and weighing 135 pounds

14. On October 14, 2015 and autopsy Was conducted on PERRY by Doctor Darin L.
Wolfe of the Marion County Coroner’s Office. The autopsy concluded that PERRY’s cause of

death was multiple gunshot wounds and that the manner of his death was homicide. The autopsy

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report confirmed that PERRY was shot multiple times including a gunshot Wound to the back of
the head.

15. In 2015, there were over one hundred and fifty (150) pharmacy robberies in and
around the Indianapolis metropolitan area. 1 have participated directly in the investigation into
dozens of these robberies along with law enforcement officers from other agencies and
departments including IMPD. These investigations have resulted in dozens of arrests as well as
suspect, witness and victim interviews

16. These interviews have resulted in a greater understanding of the tactics procedures
and modus operandi utilized by robbers of pharmacies Also gained through these interviews Was
an understanding of the familial and social relationships between the robbers lt was through these
interviews that I learned several items of interest as they related to PERRY and ultimately his
murder.

17. I learned that PERRY also went by the street name MOOK. Further, I learned
PERRY participated in pharmacy robberies with other individuals whose names and identifiers
are known to me.

18. 1 participated in multiple interviews of a Cooperating Witness [“Cl”] whose true
name and identifiers are known to me, Cl provided information related to the pharmacy robbery
at 6290 North College Avenue on October 13, 2015. Cl also provided information as to the
alleged murder of PERRY. Based ori the information provided by Cl, I have concluded that the
robbery and alleged murder Were related as follows:

19. Several males gathered in the late afternoon/early evening hours of October 13,
2015. The purpose of the gathering was to make plans to rob a pharmacy that evening. The group,

to include D.D.M. and PERRY, gathered at an apartment complex on 36th Street and Meridian

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Street in Indianapolis, Indiana. The group included RUDOLPH and three other black males
whose names and identifiers are known to me. Cl stated that the group was approached by police
while in the parking lot of the complex. Ultimately, RUDOLPH was arrested by IMPD and
removed from the scene. The remaining five black males were released by IMPD. The
circumstances and location of this event as described by Cl leads me to believe this incident was
the incident during which RUDOLPH was arrested as described above.

20. Cl went on to describe that RUDOLPH was to be the getaway driver for the
planned pharmacy robbery that evening, however, due to the arrest, RUDOLPH was no longer
able to drive the getaway car. One member of the group was an individual known to Cl only as
“'I`ORO” or “TOTE.” TORO was described as a black male, 28 to 29 years old, 6’ 1” to 6’2” tall,
heavyset, with a lazy eye. To date, l have been unable to positively identify TORO. TORO was
called in order to act as the getaway driver in place of RUDOLPH. TORO arrived in a white van
to pick up the group.

21. The group then travelled in TORO’s white van to the CVS pharmacy at 6290 North
College Avenue, Based on the information provided by Cl, l believe the group was composed of
six (6) people total, including TORO as the getaway driver, D.D.M., PERRY, and three (3) other
people who planned to enter the pharmacy and commit the robbery.

22. The van arrived at the CVS pharmacy and parked in an alley behind it. 1 am familiar
with the location and layout of the CVS and knows that an alley runs directly behind it, which
connects to 63rd Street allowing access to College Avenue,

23. Five (5) individuals including D.D.M. and PERRY, then went into the pharmacy
to commit the robbery. All five were armed with handguns The robbers were frustrated as they

were not able to get into the narcotics safe and were only able to get a limited number of items

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from the pharmacy, for example Tussinex and bladder pills This description of the demeanor of
the robbers corroborates the information provided by victims and witnesses to the robbery.

24. The group exited the pharmacy, ran to the waiting getaway car driven by TORO,
and departed the area. l have viewed surveillance footage from the robbery of the CVS Pharrnacy.
While their faces are obscured, one of the robbers who fits PERRY’s height and weight, is
wearing gray sweatpants a gray hooded sweatshirt, and black and white athletic shoes

25. The group departed the area and travelled in TORO’s white van to an alley behind
Byram Avenue, The van stopped in the alley and the group began the process of splitting up the
items taken during the robbery. D.D.M. and PERRY began to argue about the narcotics that were
obtained during the robbery. Specifically, PERRY felt there was not enough taken during the
robbery to split six ways PERRY became agitated enough that he grabbed the bag holding the
items taken during the robbery. PERRY announced that he would not be splitting the pills at all
and then exited the van and began to Walk away with the bag of narcotics D.D.M. also got out of
the van as he did not want PERRY to leave with the items

26. As PERRY was approximately ten (10) feet in front of the van, D.D.M. walked up
behind PERRY with his gun extended and pointed at PERRY’s back. As PERRY began to turn
around and when D.D.M. Was approximately six (6) feet behind PERRY, D.D.M. fired his gun
striking PERRY in the back of the head. PERRY fell to the ground. D.D.M. then approached
PERRY’s prone body and fired additional rounds into it. While PERRY was armed at the time
of the shooting, he did not have the gun in his hand, nor was he facing D.D.M. when he was shot.

27. D.D.M then grabbed the bag of pills off the ground next to PERRY’s body. The
other members of the robbery crew exited the van. TORO and D.D.M then departed in the van

as the other members of the robbery crew fled on foot.

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28. Responding IMPD homicide detectives noted that PERRY had been shot multiple
times including a bullet wound to the back of the head. Detectives also noted PERRY was
wearing gray sweatpants a gray hooded sweatshirt, and black and white athletic shoes A spent
9mm shell casing was also recovered at the scene.

29. The string of allegedly related activities on the night of October 13, 2015 are
surmnarized as follows: Based on an IMPD report from 3707 North Meridian Street, I know that

@/\;):D.M. and PERRY were together approximately two (2) hours before the robbery of the CVS
Pharmacy on North College Avenue. Corroborative information provided by Cl indicated the
group planned a pharmacy robbery that evening. A pharmacy robbery occurred at 6290 North
College Avenue wherein at least one victim witness described one of the robbers as being the
approximate height and Weight of PERRY and video surveillance footage shows a robber wearing
gray sweatpants gray hooded sweatshirt, and black and white athletic shoes Approximately 30
minutes after the robbery, IMPD responded to a report of a deceased person behind 4130 North
Byram Avenue. The deceased was identified as PERRY and that he was wearing gray sweatpants
gray sweatshirt, and black and white athletic shoes Cl described the pharmacy robbery as being
committed by Six (6) individuals including D.D.M., PERRY, and TORO- the getaway driver. C 1
further described an argument in an alley behind Byram Avenue between D.D.M. and PERRY
with D.D.M subsequently shooting PERRY over pills taken during the robbery.

30. I have participated in several other interviews of Cooperating Witnesses who
described a subsequent dice game, Which took place on October 14, 2015. Multiple individuals
were there, including D.D.M and RUDOPLH, who had been released from the Marion County
Jail following his arrest on October 13, 2015. Several witnesses described D.D.M as trading a

Glock 19 in his possession to RUDOLPH for a Glock 23. 1 am familiar with the Glock 19 pistol

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and knows that it is chambered for 9mm ammunition D.D.M was subsequently arrested by the
Lawrence (Indiana) Police Department on October 16, 2016, for possession of marijuana,
following a traffic stop. Law enforcement recovered a Glock 23 handgun from the vehicle.

31. Based on the above information, I have probable cause to believe that D.D.M
committed several crimes in violation of Title 18, United States Code, Section 5032 of the Juvenile
Justice and Delinquency Prevention Act (18 U.S.C. § 5031-42). lf D.D.M. had been an adult at
the time, his actions would constitute violations of Title 18, United States Code, Section l951(a)
(in that D.D.M participated in the armed robbery of the CVS at 6290 North College Avenue), Title
18 United States Code, Section 924 (c)(l)(A)(ii) (in that D.D.M possessed a firearm during this
robbery), and a further violation of Title 18 United States Code, Section l951(a) (in that D.D.M
robbed PERRY of narcotics which had travelled in interstate commerce) and finally, I allege that
D.D.M shot and killed MALIK PERRY, from whom he took the narcotics taken in the CVS
robbery, in violation of Title 18 United States Code, Section 924@)(1).

FURTHER YOUR AFFIANT SAITH NOT

Steven T. gecor

Special Agent
Federal Bureau of lnvestigation

Subscribed and sworn before rne the 21St day of April, 2017, at Indianapolis Indiana.

 

 

Uni d State agistrate Judge
Southern District of Indiana

